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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, et al.,

                       Plaintiffs,
   v.
                                                          Civil Action No. 3: 17-cv-00072-NKM
   JASON KESSLER, et al.,
                                                          JURY TRIAL REQUESTED
                      Defendants.


            PLAINTIFFS’ SECOND AMENDED DEPOSITION DESIGNATIONS

         Plaintiffs, by and through their counsel, respectfully submit this second amended

 deposition designations to include the designations of Benjamin Daley deposition transcript,

 which was taken on Friday, October 8.

         Plaintiffs continue to reserve the right to: (a) use audio and/or video deposition excerpts

 and/or create demonstrative exhibits; (b) use any deposition designations listed by Defendants;

 (c) supplement these designations with those of any persons listed as trial witnesses by any party

 in the event that such witnesses are not available to testify at trial or are not called at trial; (d)

 designate additional portions of deposition transcripts for the purpose of authentication of

 documents, if required; (e) designate any deposition testimony taken after the date of these

 designations; and (f) use any and all deposition and/or trial testimony, whether or not designated,

 for cross-examination, impeachment, or rebuttal purposes.
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
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        I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
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